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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         -------------------------------------------------------------------------X
         FAIRFIELD SENTRY LIMITED,                                                        :
                                                                                          :
                                                                                          :   Index No.
                                                                                          :   650316/2010
                                                                             Plaintiff,
                                                                                          :
                                           -against-                                      :
                                                                                          :   SUMMONS WITH
         ABN AMRO SCHWEIZ AG, ADLER AND CO PRIVATBANK                                     :      NOTICE
         AG, ALLIANZBANK SPA/UNIFORTUNE CONSERVATIVE                                      :
         SIDE POCKET, ALTERNATIVE INVESTMENT                                              :
         STRATEGIES, ARSENAL SPC, ARSENAL SPC OBO                                         :
         GLASGOW SEG PORT, BANCA ARNER SA, BANCA                                          :
         UNIONE DI CREDITO, BANK HAPOALIM SWITZERLAND                                     :
         LTD., BANK JULIUS BAER & CO. LTD., BANK SARASIN &                                :
         CIE, BANQUE CANTONALE VAUDOISE, BANQUE                                           :
         CRAMER & CIE SA, BANQUE SAFDIE SA, BARCLAY’S                                     :
         BANK PLC SINGAPORE WEALTH, BBH LUX GUARDIAN                                      :
         II, BBH LUX REF FAIRFIELD GRN, BBVA (SUISSE) SA,                                 :
         BCV AMC DEFENSIVE AL FUND, BNP PARIBAS (SUISSE)                                  :
         SA, BNP PARIBAS (SUISSE) SA EX FORTIS, BNP PARIBAS                               :
         (SUISSE) SA PRIVATE, BSI AG, BSI EX BANCA DEL                                    :
         GOTTARDO, CACEIS BANK LUXEMBOURG, CBB (BVI)/                                     :
         THE ALKIMA FUND, CBT GEMS LOW VOL REG,                                           :
         COMPAGNIE BANCAIRE HELVETIQUE, CENTRUM BANK                                      :
         AG (AMS), FIDULEX MANAGAMENT INC, CLARIDEN                                       :
         LEU LTD., CORNER BANCA SA, CREDIT SUISSE AG                                      :
         ZUIRCH, DEXIA BANQUE INTERNATIONAL A                                             :
         LUXEMBOURG, DRESDNER BANK SCHWEIZ, EFG BANK                                      :
         SA SWITZERLAND, EFG EUROFINANCIER D’INVEST                                       :
         MCL, ENDURANCE ABSOLUTE LTD. MASTER,                                             :
         FAIRFIELD INVESTMENT GCI, FAIRFIELD INVESTMENT                                   :
         FUND LTD., FAIRFIELD MASTERS LTD., FALCON                                        :
         PRIVATE BANK, FCL IFP GLOBAL DIVERSIFIED CLS, FIF                                :
         ADVANCED LTD., FINTER BANK ZUIRCH, HARMONY                                       :
         CAPITAL FUND LTD., IHAG HANDELSBANK AG, INCORE                                   :
         BANK AG, JP MORGAN (SUISSE) SA, KARLA                                            :
         MULTISTRATEGIES LTD., KBC INVESTMENTS LTD., LGT                                  :
         BANK IN LIECHTENSTEIN AG, LIECHTENSTEINISCHE LB                                  :
         REINVEST AMS, LLOYDS TSB BANK GENEVA,                                            :
         LOMBARD ODIER DARIER HENTSCH & CIE, LONGBOAT                                     :
         LTD., MASTER CAPITAL AND HEDGE FUND, NBK                                         :
         BANQUE PRIVEE SUISSE SA, PICTET & CIE, PKB                                       :
         PRIVATBANK AG, PRIVATE SPACE LTD., QUASAR FUNS                                   :
         SPC, RBC DEXIA INVESTOR SERVICE JULIUS BAER


                                                                 1
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SICAV, RBS COUTTS BANK LTD., RICHOURT AAA                                             :
MULTISTRATEGIES, ROTHSCHOLD BANK AG ZURICH                                            :
(DUBLIN), ROTHSCHILD BANK GENEVA (DUBLIN),                                            :
ROTHSCHILD LUGANO DUBLIN, SELLA BANK AG, SIS                                          :
SEEGANINTERSETTLE, SIX SIS LTD., SOCIETE                                              :
GENERALE BANK & TRUST, SOUNDVIEW FUND,                                                :
SPRINGER FUND OF FUNDS LTD., SWISSCANTO FD                                            :
CENTRE CLIENTS A/C, T1 GLOBAL FUND LTD.,                                              :
TEOREMA ALTERNATIVE STRATEGIES, UBS AG NEW                                            :
YORK, UBS AG ZURICH, UBS JERSEY NOMINEES,                                             :
VERWALTUNGS UND PRIVAT-BANK AG                                                        :
AKTIENGESELLSCHAFT (AMS), VORARLBERGER                                                :
LANDES UND HYPOTHEKENBANK                                                             :
ANKIENGESELLSCHARFT and BENEFICIAL OWNERS OF                                          :
THE ACCOUNTS HELD IN THE NAME OF CGC (NA) 1-                                          :
1000.                                                                                 :
                                                                                      :
                                                                 Defendants.          :
                                                                                      :
--------------------------------------------------------------------------------------X
         To:      ABN AMRO SCHWEIZ AG
                  BEETHOVENSTRASSE 33
                  8002- ZURICH
                  SWITZERLAND

                 ADLER AND CO PRIVATBANK AG
                 CGC NV
                 CLARIDENSTRASSE 22
                 CH-8022 ZURICH
                 SWITZERLAND

                 ALLIANZBANK SPA / UNIFORTUNE CONSERVATIVE SIDE POCKET
                 CGC NV/CGC NV
                 VIA DONIZETTI 53
                 MILAN 20128
                 ITALY

                 ALTERNATIVE INVESTMENT STRATEGIES
                 CGC NV
                 C/O ABSOLUTE PERFORMANCE LTD
                 BAMBOO GATE
                 11 HARBOUR ROAD
                 PAGET PG 03
                 BERMUDA

                 ARSENAL SPC



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          CGC NV
          CORPORATE CENTRE WEST BAY ROAD
          PO BOX 31106 SMB
          GRAND CAYMAN
          CAYMAN ISLANDS

          ARSENAL SPC OBO GLASGOW SEG PORT
          CGC NV
          RUE DE LA CROIX 19
          1203 GENEVA
          SWITZERLAND

          BANCA ARNER SA
          CGC NV
          PIAZZA MANZONI 8
          6901 LUGANO
          SWITZERLAND

          BANCA UNIONE DI CREDITO
          CGC NV - CASH
          PIAZZA DANTE 7
          CH-6901 LUGANO
          SWITZERLAND

          BANK HAPOALIM SWITZERLAND LTD
          CGC NV
          STOCKERSTRASSE 33
          CH-8027 ZURICH
          SWITZERLAND

          BANK JULIUS BAER & CO. LTD
          CGC NV
          HOHLSTRASSE 602
          CH-8010 ZURICH
          SWITZERLAND

          BANK SARASIN & CIE
          CGC NV
          ELIZABETHENSTRASSE 62
          CH-4002 BASEL
          SWITZERLAND

          BANQUE CANTONALE VAUDOISE
          CGC NV
          PLACE ST FRANCOIS 14
          CH-1001 LAUSANNE



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          SWITZERLAND

          BANQUE CRAMER & CIE SA EX BPG
          CGC NV
          20-22 AVENUE DE MIREMONT
          PO BOX 403
          CH-1211 GENEVA 12
          SWITZERLAND

          BANQUE SAFDIE SA
          CGC NV REF BANQUE SAFDIE
          1 RUE DE LA TOUR DE L'ILE
          CASE POSTALE 5415
          1211 11 GENEVA
          SWITZERLAND

          BARCLAY'S BANK PLC SINGAPORE WEALTH
          CGC NV REF BARCLAYS SINGAPORE WEALTH
          LEVEL 28 ONE RAFFLES QUAY
          SOUTH TOWER
          SINGAPORE 048583
          SINGAPORE

          BBH LUX FAIRFIELD GUARDIAN II
          CGC NV
          FAIRFIELD GREENWICH GROUP
          FINANCE GROUP
          919 THIRD AVENUE
          NEW YORK 10022

          BBH LUX REF FAIRFIELD GRN 6200448
          CGC NV REF BBH LUX
          BBH LUX
          33 BOULEVARD PRINCE HENRI BP 403
          LUXEMBOURG L 2014
          LUXEMBOURG

          BBVA (SUISSE) SA
          CGC NV
          PO BOX 3930
          ZELTWEG 63
          8021-ZURICH
          SWITZERLAND

          BCV AMC DEFENSIVE ALT FUND CHF
          CGC NV



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           PLACE ST FRANCOIS
           CH-1001 LAUSANNE
           SWITZERLAND

           BNP PARIBAS (SUISSE) SA
           CGC NV
           2 PLACE DE HOLLANDE
           CASE POSTALE
           CH-1211 GENEVA
           SWITZERLAND

           BNP PARIBAS (SUISSE) SA EX FORTIS
           CGC NV
           PLACE DE HOLLANDE CASE POSTALE
           CH-1211 GENEVA
           SWITZERLAND

           BNP PARIBAS (SUISSE) SA PRIVATE
           CGC NV
           2 PLACE DE HOLLANDE CASE POSTALE
           CH-1211 GENEVA
           SWITZERLAND

           BSI AG
           CGC NV
           VIA PERI 23
           CH-6901 LUGANO
           SWITZERLAND

           BSI EX BANCA DEL GOTTARDO
           CGC NV
           VIALE S FRANSCINI 8
           CH-6900 LUGANO
           SWITZERLAND

           CACEIS BANK LUXEMBOURG
           CGC NV CAIL CFM
           5 ALLEE SCHEFFER
           LUXEMBOURG L -2520
           LUXEMBOURG

           CBT GEMS LOW VOL REG
           CITCO GLOBAL CUSTODY (NA) NV
           ONE MONTAGUE PLACE 1ST FLOOR
           EAST BAY STREET
           PO BOX N-4906



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           NASSAU
           BAHAMAS

           CBH - COMPAGNIE BANCAIRE HELVETIQUE
           CGC NV
           ROUTE DE CHANCY 6B
           CASE POSTALE 64
           CH-1211 GENEVA 8
           SWITZERLAND

           CENTRUM BANK AG (AMS)
           CGC NV
           KIRCHSTRASSE 3
           POSTFACH 1168
           VADUZ FL 9490
           LIECHTENSTEIN

           FIDULEX MANAGAMENT INC
           CGC NV
           SCHOTTEGATWEG OOST 44
           PO BOX 707
           WILLEMSTAD
           CURACAO
           NETHERLANDS ANTILLES

           CLARIDEN LEU LTD
           CGC NV
           BAHHOFSTRASSE 32
           PO BOX
           CH-8070 ZURICH
           SWITZERLAND

           CORNER BANCA SA
           CGC NV
           VIA CANOVA 16
           CH-6901 LUGANO
           SWITZERLAND

           CREDIT SUISSE AG ZURICH
           CGC NV
           PO BOX 300
           UETLIBERGSTRASSE 231
           CH-8070 ZURICH
           SWITZERLAND

           DEXIA BANQUE INTERNATIONAL A LUXEMBOURG



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           CGC NV
           69 ROUTE D'ESCH
           LUXEMBOURG L-2953
           LUXEMBOURG

           DRESDNER BANK SCHWEIZ
           CGC NV
           LGT BANK IN LIECHTENSTEIN AG EX DBS
           HERRENGASSE 12
           VADUZ FL-9490
           LIECHTENSTEIN

           EFG BANK SA SWITZERLAND
           CGC NV - REINVEST
           24 QUAI DU SEUJET
           CH-1211 GENEVA 2
           SWITZERLAND

           EFG EUROFINANCIER D'INVEST MCL
           CGC NV REF EFG MC
           VILLA LES AIGLES
           15 AVENUE D'OSTENEDE
           MONACO MC 9800

           ENDURANCE ABSOLUTE LTD MASTER
           CGC NV
           C/O ARGYLE INVESTMENT ADVISORS
           IVEAGH LTD
           21 QUEEN ANNE'S GATE
           LONDON SW1H 9BU
           UNITED KINGDOM

           FAIRFIELD INV GCI JPY
           CGC NV
           FAIRFIELD GREENWICH GROUP
           FINANCE GROUP
           919 THIRD AVENUE
           NEW YORK 10022

           FAIRFIELD INVESTMENT FUND LTD
           CGC NV
           FAIRFIELD GREENWICH GROUP
           FINANCE GROUP
           919 THIRD AVENUE
           NEW YORK 10022




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           FAIRFIELD MASTERS LTD -CLOSED
           CGC NV
           FAIRFIELD GREENWICH GROUP
           FINANCE GROUP
           919 THIRD AVENUE
           NEW YORK 10022

           FALCON PRIVATE BANK LTD
           CBC A/C 299920/CGC NV
           PELIKANSTRASSE 37
           PO BOX 1376
           CH-8021 ZURICH
           SWITZERLAND

           FCL IFP GLOBAL DIVERSIFIED CLS
           CGC NV
           C/O FORTUNE ASSET MANAGEMENT LTD
           10 EXCHANGE STREET
           PRIMROSE STREET
           LONDON EC2A 2BY
           UNITED KINGDOM

           FIF ADVANCED LTD
           FAIRFIELD GREENWICH GROUP
           FINANCE GROUP
           919 THIRD AVENUE
           NEW YORK 10022

           FINTER BANK ZURICH
           CGC NV
           CORSO S GOTTARDO 35
           CH-6830 CHIASSO
           SWITZERLAND

           HARMONY CAPITAL FUND LTD
           CGC NV REF HARMONY CAPITAL
           C/O JASON CAPITAL PARTNERS LLP
           28 GROSVENOR STREET
           LONDON W1K 4QR
           UNITED KINGDOM

           IHAG HANDELSBANK AG
           CGC NV
           BLEICHERWEG 18
           8022- ZURICH
           SWITZERLAND



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           INCORE BANK AG
           CGC NV
           DREIKOENIGSTR 8
           CH-8022 ZURICH
           SWITZERLAND

           JP MORGAN (SUISSE) SA
           CGC NV JPMS
           PO BOX 5160
           RUE DE LA CONFEDERATION 8
           CH-1211 GENEVA 11
           SWITZERLAND

           KARLA MULTISTRATEGIES LTD
           CITCO GLOBAL CUSTODY (NA) NV / REF KARLA MUTLLISTRATEGIES
           NARITAWEG 165
           1043 BW AMSTERDAM
           THE NETHERLANDS

           KBC INVESTMENTS LTD
           CITCO GLOBAL CUSTODY (NA) NV
           AS CUSTODIAN FOR KBC INV REF KARASEL ENH
           140 EAST 45TH STR 42ND FLOOR
           NEW YORK NY 10017

           LGT BANK IN LIECHTENSTEIN AG EX DBS
           CGC NV REF DRESDNER SCHWEIZ TF
           LGT BANK IN LIECHTENSTEIN AG
           HERRENGASSE 12
           VADUZ FL 9490
           LIECHTENSTEIN

           LIECHTENSTEINISCHE LB REINVEST AMS
           CGC NV
           LIECHTENSTEINISCHE LANDESBANK AG
           STAEDTLE 44
           VADUZ FL-94940
           LIECHTENSTEIN

           LLYODS TSB BANK GENEVA
           CGC NV
           PLACE BEL-AIR 1
           CH-1211 GENEVA 2
           SWITZERLAND




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           LOMBARD ODIER DARIER HENTSCH & CIE
           CGC NV
           RUE DE LA CORRATERIE 11
           1204 GENEVA
           SWITZERLAND

           LONGBOAT LTD
           SRCA@UOL.COM.BR

           MASTER CAPITAL AND HEDGE FUND
           CGC NV
           C/O CITCO FUND SERVICES EUROPE BV
           NARITAWEG 165
           1043 BW AMSTERDAM
           THE NETHERLANDS

           NBK BANQE PRIVEE SUISSE SA
           CGC NV REF NAT BANK OF KUWAIT
           QUAI DU MONT BLANC 21
           PO BOX 1923
           GENEVA 1
           SWITZERLAND

           PICTET & CIE
           CGC NV/CGC NV REF PICTET
           ROUTE DES ACACIAS 60
           1211 GENEVA 73
           SWITZERLAND

           PKB PRIVATBANK AG
           CGC NV
           VIA BALESTRA 1
           CH-6901 LUGANO
           SWITZERLAND

           PRIVATE SPACE LTD
           CGC NV
           7 RUE DU GABIAN
           MC 98000 MONACO
           MONACO

           QUASAR FUND SPC CLASS A AND CLASS B
           CGC NV
           C/O CITCO FUND SERVICES EUROPE BV
           NARITAWEG 165
           1043 BW AMSTERDAM



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           THE NETHERLANDS

           RBC DEXIA INVESTOR SERVICE JULIUS BAER SICAV
           CBC A/C 299920 DEX
           DEXIA FUND SERVICES
           69 ROUTE D'ESCH
           LUXEMBOURG L-2953
           LUXEMBOURG

           RBS COUTTS BANK LTD
           CGC NV
           PO BOX 2200
           STAUFFACHERSTRASSE 1
           CH-8022 ZURICH
           SWITZERLAND

           RICHOURT AAA MULTISTRATEGIES
           CITCO GLOBAL CUSTODY (NA) NV
           TELSTONE 8 TELEPORT
           1043 BW AMSTERDAM
           THE NETHERLANDS

           ROTHSCHILD BANK AG ZURICH (DUBLIN)
           CGC NV
           ZOLLIKERSTRASSE 181
           CH-8034 ZURICH
           SWITZERLAND

           ROTHSCHILD BANK GENEVA (DUBLIN)
           CGC NV
           BANCA PRIVEE EDMOND DE ROTHSCHILD
           18 RUE DE HESSE
           CH-1204 GENEVA
           SWITZERLAND

           ROTHSCHILD LUGANO DUBLIN
           CGC NV
           BANCA PRIVEE EDMOND DE ROTHSCHILD LUGANO SA
           VIA GINEVRA 2
           CH-6900 LUGANO
           SWITZERLAND

           SELLA BANK AG
           CGC NV
           CORSO ELVEZIA 9
           CH-6900 LUGANO



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           SWITZERLAND

           SIS SEGANINTERSETTLE
           CGC NV
           BASLERSTRASSE 100
           CH-4601 OLTEN
           SWITZERLAND

           SIX SIS LTD
           BASLERSTRASSE 100
           CH-4601 OLTEN
           SWITZERLAND

           SOCIETE GENERALE BANK & TRUST
           CGC NV
           11-13 AVENUE EMILE REUTER
           LUXEMBOURG L-2420
           LUXEMBOURG

           SOUNDVIEW FUND
           CITCO GLOBAL CUSTODY (NA) NV
           NARITAWEG 165
           1043 BW AMSTERDAM
           THE NETHERLANDS

           SPRINGER FUND OF FUNDS LTD
           FIDULEX MANAGEMENT LTD
           C/O UNION BANCAIRE PRIVEE ASSET MGT
           PO BOX HM 3399
           HAMILTON HM11
           BERMUDA

           SWISSCANTO FD CENTRE CLIENTS A/C
           CGC NV
           4TH FLOOR 51 MOORGATE
           LONDON EC2R 6BH
           UNITED KINGDOM

           T1 GLOBAL FUND LTD
           CGC NV
           C/O TRUST AND GAIN ASSET MANAGEMENT
           CORSO SAN GOTTARDO 46
           6830 CHIASSO
           SWITZERLAND

           TEOREMA ALTERNATIVE STRATEGIES



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           CGC NV
           PO BOX 31106 SMB
           CORPORATE CENTRE WEST BAY ROAD
           GRAND CAYMAN
           CAYMAN ISLAND

           UBS AG NEW YORK BRANCH AS AGENT
           CITCO GLOBAL CUSTODY (NA) NV FBO UBS NEW YORK BRANCH AS
           AGENT
           101 PARK AVENUE 14TH FLOOR
           NEW YORK NY 10178

           UBS AG ZURICH
           CGC NV/CGC NV
           REF UBS ZURICH/CBC A/C 299920
           UBS WEALTH MANAGEMENT
           BADENERSTRASSE 574/C
           CH-8098 ZURICH
           SWITZERLAND

           UBS JERSEY NOMINEES
           CGC NV/CGC NV - UBS JERSEY
           PO BOX 350
           24 UNION STREET
           ST HELIER JE4 8UJ
           JERSEY

           VERWALTUNGS UND PRIVAT - BANK AG AKTIENGESELLSCHAFT
           (AMS)
           CGC NV
           IM ZENTRUM
           VADUZ FL-9490
           LIECHTENSTEIN

           VORARLBERGER LANDES UND HYPOTHEKENBANK
           AKIENGESELLSCHARFT
           CGC NV
           HYPO-PASSAGE 1
           BREGENZ 6900
           AUSTRIA

           BENEFICIAL OWNERS OF THE ACCOUNTS HELD IN THE NAME OF
           CGC (NA) 1-1000
           C/O CGC (NA)
           CITCO GLOBAL SECURITIES SERVICES LTD
           2600 CORK AIRPORT BUSINESS PARK



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               KINSALE ROAD
               CORK, IRELAND

       You are hereby summoned and required to serve upon plaintiff’s attorney, at the address

stated below, a notice of appearance or demand for a complaint.

       If this summons was personally served upon you in the State of New York, your notice of

appearance or demand for a complaint must be served within twenty (20) days after such service

of the summons, excluding the date of service. If the summons was not personally delivered to

you within the State of New York, your notice of appearance or demand for a complaint must be

served within thirty (30) days after service of the summons is complete, as provided by law.

       The nature of this action is for mistake and restitution based on payments made by

plaintiff Fairfield Sentry Limited (“Plaintiff”) and received by Defendants from and after April

21, 2004. Plaintiff seeks damages in the amount of all such mistaken payments, believed to

exceed $38.2 million, restitution of amounts paid by mistake and/or such other contractual and

equitable remedies as are available to it under law. Plaintiff’s claims arise out of payments made

to Defendants in respect of interests in the shares of the Plaintiff.

       If you do not serve a notice of appearance or demand for a complaint within the

applicable time limitation stated above, a judgment may be entered against you, by default, for

the sum of $38,257,152.53, in addition to any applicable interest and the costs and disbursements

associated with this action.

       The action will be heard in the Supreme Court of the State of New York, County of New

York. The basis of venue is the designation by Plaintiff pursuant to CPLR 503(a).

Dated: New York, New York
       August 17, 2010
                                                   BROWN RUDNICK LLP

                                                   By:_/s/ May Orenstein____________


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                                                David J. Molton
                                                May Orenstein
                                                Kerry Quinn

                                           Seven Times Square
                                           New York, New York 10036
                                           Telephone: (212) 209-4800
                                           Facsimile: (212) 209-4801
                                           dmolton@brownrudnick.com
                                           Counsel for Plaintiffs




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